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111 1 HE UNITED STATES DISTRICT CL)URT
EASTERN DISTRICT OF ARKANSAS

UNITED STATES GF AMERICA
V.

JOSE IGNACIO MEDINA-RIOS,
a/k/a Medina;

JESUS IGNACIO MEDINA-LEYVA;

ALAN JIMENEZ-TORRES,
a/k/a Alan Jz`menez-Hemdio;

ORLIN YAMID MENDEZ-MATUTE,
'a/k/a Jhovanny Mendez,

_ a/k/a chy;

JESUS ALBERTO GARCIA~QUIROZ,
a/k/a Pelon, cz/k/a POZZo;

JESUS IGNACIO LOPEZ,
a/k/a Jesus Arellano Lopez,
a/k/cz Jesus L. Lopez,
a/k/a chcho;

JAVIER DE ALBA DE ALBA;

JUAN HUMBERTO LUNA, a/k/a Juanillo;

RICARDO RIVERA;

MARK CHRISTOPHER GILLESPIE;

JUSTIN MICHAEL TARINELLI;

MORGAN STEPHEN POOLE, a/k/cz Steve;

TAMARA MULLIGAN;

TINA MARIE BASS;

CLAUDIA BISHOP;

JUAN MANUEL SANCHEZ-RICARDC);

ESAU NAVARRETE-MENESES;

ARMANDO JESUS JUVERA, JR.,

a/k/a ARMANDO JUVERA-CARDENAS’

RONALD A. RAMM;

LELAND B. MASTERS;

RICKY SHAWN BENNETT, a/k/a Shawn;
DAVID COLE NUNNELLY, a/k/a Cole;
JOYCE BELLE CLARKE;

JAMES E. APPLEWHITE, JR., a/k/a Jamz`e;

JEREMY LEWIS EARL, cz/k/a Stealth;
WESLEY MEEKS, JR., a/k/a Wes;
TYLER DENTON;

JIMMY RAY CANNON;

TOMMY PHILLIPS;

JUSTON FIELDS, ,a/k/a Jejj”;
SHANNON LENAHAN, a/k/a Scotz; and

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DEF
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21 U.S.C. § 846
21 U.S.C. § 841(3)(1)

18 U.S.C. § 924(@)(1)1A)

18 U.S.C. § 922(§)(1)

18 U.S.C. § 1956(h)

18 U.S.C. § 1956(3)(1)(13)(1)
21 U.S.C. § 853

18 U.S.C. § 924(d)

18 U.S.c. § 982(3)(1)

18 U.S.C. § 3013

18 U.S.C. § 3571

18 U.S.C. § 3583

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ASHEA ROLLER, czz/l'c/tv .1shea Glover )

l\/IOTION TO SEAL INDICTMENT
Pursuant to Rule 6(e)(4), Federal Rules of Criminal Procedure, in order to prevent flight
from prosecution and to protect the safety of the law enforcement officers effectuating the arrest
Warrants in this case, the United States respectfully requests that the above-styled indictment be
sealed until the defendants are in custody or have been released pending trial.

CODY HILAND

  
   

 

 

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TX Bar # 00795383

Assistant U.S. Attorney

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ORDER
Pursuant to the above request, the indictment in this matter shall be sealed until the

defendants are in custody or have been released pending trial.

t/z, 7

13 TE UNLIED'§TATE§; MAGIST JUDGE

 

